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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                             DECISION AND ORDER
                                                                     10-CR-239S (1)(2)(3)(4)(5)(8)
JOHNNY ROUNDS, DONALD ROUNDS,
RICKY PROCTOR, LORENZO HUNT,
DeMARIO STEWART, and BRODERICK ROBINSON,

                        Defendants.



                                         I. INTRODUCTION

        Presently before this Court are the parties’ motions in limine seeking various forms

of relief.1 (Docket Nos. 593, 596, 598.) For the reasons that follow, the government’s

motion is denied without prejudice. Defendants’ motions are deferred in part, granted in

part, and denied in part.2

                                        II. BACKGROUND

        The government alleges that Johnny Rounds is the leader of a violent criminal

enterprise—the “Rounds Crew”—that conspired to engage in drug-trafficking and violent

criminal activity in the Broadway Market area of the City of Buffalo, NY. Donald Rounds,

Ricky Proctor, Lorenzo Hunt, DeMario Stewart, and Broderick Robinson are allegedly

members of the Rounds Crew.

        In 2009, the Rounds Crew began feuding with a rival group known as the “LRGP

gang,” which was trafficking drugs several blocks from where the Rounds Crew operated.



        1
          Defendants Donald Rounds and Broderick Robinson filed Defendants’ motions in limine, which
their co-defendants join. See Docket No. 636.
        2
        Defendant Lorenzo Hunt also filed motions in limine, in which the other defendants join. (Docket
Nos. 599, 635.) Those motions will be resolved by separate Decision and Order.
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The feud escalated when members of the LRGP gang allegedly broke into a Rounds Crew

stash house and stole drugs, cash, jewelry, and clothing. Johnny Rounds allegedly told

his crew that he wanted members of the LRGP dead in retaliation.

        Soon after, members of the Rounds Crew began seeking out and shooting at LRGP

members. LRGP members responded in kind. Amid the violence, three people were

murdered: Brandon Haugabook; Larry Crosland; and Shawn Kozma. Defendants are now

variously charged in a superseding indictment with these three murders and numerous

drug-trafficking and firearms-related offenses. Trial begins November 3, 2015.

                                      III. DISCUSSION

        Familiarity with facts and underlying arguments is presumed.

A.      Government’s Motion in Limine

        In its motion, the government seeks to preclude Defendants from referencing in any

way that many of the charges in the superseding indictment were not prosecuted by state

authorities or were previously dropped or dismissed by state authorities. The government

contends that such references would mislead and confuse jurors concerning the trial

issues, the applicable law, and their roles as jurors, and is therefore inadmissible under

Rule 403 of the Federal Rules of Evidence. Defendants maintain that preclusion would

infringe on their constitutional right to present a full and fair defense and to confront their

accusers.

        At this juncture, this Court does not have enough information to rule. From the

briefing, it appears that there will be testimony and evidence presented at trial concerning

investigations conducted and conclusions reached by various state law enforcement


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agencies and officers. Some of that testimony and evidence may well be relevant and not

unfairly prejudicial. Other portions, and perhaps argument stemming therefrom, may be

relevant but unfairly prejudicial under Rule 403. Without hearing the evidence in context,

this Court cannot enter a blanket pretrial ruling. The government’s motion in limine is

therefore denied as premature, without prejudice to the government raising this issue at

an appropriate time during trial.3

B.      Defendants’ Motions in Limine

        Defendants seek six forms of relief in their first motion in limine: (1) to preclude

autopsy, homicide, or shooting photographs or testimony describing autopsies; (2) to

preclude testimony from a DEA special agent; (3) to direct the government to produce all

remaining Brady and Giglio material immediately; (4) to direct the government to produce

the presentence reports of its cooperating witnesses for in camera review and possible

disclosure to defense counsel; (5) to preclude co-defendant statements to law

enforcement; and (6) to preclude out-of-court statements under Rule 801(d)(2)(E) until the

government independently establishes the existence of a conspiracy and its members.4

(Docket No. 596.) In their second motion in limine, Defendants seek to preclude any

government witness not previously disclosed. (Docket No. 598.) Defendants’ requests are

discussed in turn.



        3
          The government relies in part on a recent oral ruling by the Honorable Richard J. Arcara in United
States v. Epps, 12-CR-305A, yet it has not supplied a transcript of that ruling for this Court’s consideration.
If the government intends to raise this issue at trial and again rely on Epps, it should be prepared to
provide a transcript of the relevant argument and ruling.
        4
         Defendant Donald Rounds also seeks leave to join in his co-defendants’ motions in limine. That
request is granted.

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       1.     Autopsy and Related Evidence

       Defendants seek to preclude the government from introducing testimony and

photographs relating to the charged homicides and attendant autopsies of each of the

three victims in this case. Defendants maintain that such evidence is irrelevant and unfairly

prejudicial because they do not challenge the manners of death or any of the autopsy

results. The government maintains that testimony from a medical examiner and some

autopsy and related photographs must be introduced at trial to prove the allegations in the

indictment.

       Given the charges in this case, this Court finds that the government must be

permitted to prove the manner and means of death through expert testimony and

photographic evidence. Defendants’ request for a blanket rule precluding such evidence

is therefore denied. But this Court has not heard or seen the evidence the government

intends to elicit or introduce. The government recognizes in its response to Defendants’

motion that unfairly prejudicial photographs cannot be used. (Docket No. 611, p. 4.) The

same holds true for unfairly prejudicial testimony.

       The government has offered to consult with defense counsel to reach agreement

on which photographs are appropriate to use at trial. (Docket No. 611, p. 4.) This Court

orders that counsel confer and make their best efforts to agree on unobjectionable

photographs as well as the scope of the medical examiners’ testimony. For any testimony

or photograph that remains in dispute, this Court will conduct argument outside the

presence of the jury and determine whether the testimony or photograph is barred by Rule

403. The government is instructed not to reference or display any testimony or photograph

that is not agreed upon or has not been deemed admissible by this Court.

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       2.        DEA Special Agent

       In its expert witness disclosure, the government states that it intends to call a DEA

Special Agent5 to testify concerning (1) “the methods employed and utilized by unlawful

dealers in marijuana to obtain, distribute, store, package, transport, collect money for the

sale of, avoid detection from law enforcement, and secrete their marijuana;” (2) “the terms

‘kush’ and ‘zona’ as they relate to the types of marijuana sold by the defendants,” including

their potency, cost, and locations of origin; (3) “the methods used by individuals selling

cocaine and crack cocaine;” and (4) “how these cocaine dealers will often store, conceal,

possess, or use firearms in furtherance of and for the protection of their drug distribution

and collection of money.” (Docket No. 578.)

       Defendants move to preclude this testimony on the basis that it is not grounded in

any specialized knowledge, experience, or training; is not based on sufficient facts or data;

and is not the product of reliable principles or methods; as required by Rule 702 of the

Federal Rules of Evidence. They also maintain that the witness’s testimony will be

speculative and based on inadmissible hearsay.

       Alternatively, Defendants seek further disclosure from the government concerning

the DEA Special Agent’s proffered testimony. The government agrees to provide further

disclosure. (Docket No. 611, p. 9.) Given the risks inherent in the presentation of this type

of expert testimony, see, e.g., United States v. Mejia, 545 F.3d 179, 188-200 (2d Cir. 2008)

(discussing “the emergence of the officer expert”), this Court will order the requested

additional disclosure from the government and defer ruling on Defendants’ request. The



       5
           The government expects to call DEA Special Agent Christopher Wisniewski.

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government is directed to disclose the information described in Rules 702, 703, and 705

of the Federal Rules of Evidence, as well as Rule 16(a)(1)(G) of the Federal Rules of

Criminal Procedure. The government must make its supplemental disclosure by October

20, 2015. This Court will then hear the government’s proffer of the expected expert

testimony and hear argument from both sides concerning admissibility at the final status

conference on November 2, 2015.

      3.     Disclosure of Brady and Giglio Material

      Defendants request the immediate production of all Brady and Giglio material. The

government acknowledges its affirmative and continuing duty to provide Defendants with

exculpatory and impeachment evidence under Brady and Giglio. The government also

agrees to provide Defendants with

             “any promises of leniency or immunity agreements with
             government witnesses, plea and/or non-prosecution
             agreements and letters or memorandum of understanding
             regarding such, criminal arrest records of all prosecution
             witnesses, immoral, vicious or criminal acts committed by
             witnesses, prior inconsistent statements, and all other
             promises or considerations given by government personnel to
             government witnesses or family members thereof.”

(Docket No. 611, p. 10.)

      Defendants’ request for immediate disclosure is denied. The government is ordered

to produce any materials referenced above currently in its possession by October 13, 2015.

The government is further ordered to produce any materials referenced above that come

into its possession after October 13, 2015, on an immediate and rolling basis.




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       4.     Production and Review of Presentence Reports

       Defendants seek an order requiring the government to produce the presentence

reports of cooperating witnesses for in camera review and possible disclosure. When a

co-defendant requests the presentence report of an accomplice witness, this Court is

obligated to “examine the report in camera to determine if there are any statements made

by the witness that contain exculpatory or impeachment material. If there is any such

material, the judge should not release it unless there is ‘a compelling need for disclosure

to meet the ends of justice.’” United States v. Moore, 949 F.2d 68, 72 (2d Cir. 1991)

(quoting United States v. Charmer Indus., Inc., 711 F.2d 1164 (2d Cir. 1983)).

       In light of this Court’s obligation under Moore, Defendants’ request for in camera

review of cooperating witnesses’ presentence reports is granted. The government is

directed to seek leave from the presiding judge to furnish sealed presentence reports to

this Court for review under Moore. Such leave is hereby granted for any witness whose

case this Court presided over. Upon receipt and review of the presentence reports, this

Court will issue a further order regarding required disclosure, if any. Defendants’ request

for production and review of presentence reports is granted.

       5.     Co-defendants’ Statements to Law Enforcement

       Defendants seek an order precluding the government from introducing any

statement made to law enforcement—in particular by co-defendant Ricky Proctor—that

implicates other co-defendants. In the alternative, Defendants seek severance from

Proctor. The government represents that it will not elicit or introduce any testimony or

evidence that violates Bruton. (Docket No. 611, p. 12.)



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       In Bruton, the United States Supreme Court held that the admission of a non-

testifying co-defendant’s confession that implicates other co-defendants violates the Sixth

Amendment’s confrontation clause. Bruton v. United States, 391 U.S. 123, 88 S.Ct. 1620,

20 L.Ed.2d 476 (1968); see also United States v. Jass, 569 F.3d 47, 55 (2d Cir. 2009)

(“The crux of [the Confrontation Clause] is that the government cannot introduce at trial

statements containing accusations against the defendant unless the accuser takes the

stand against the defendant and is available for cross examination.”). Preclusion, however,

is not required when the statement can be sufficiently sanitized through redaction. Jass,

569 F.3d at 61.

               Redactions and substitutions can avoid Bruton error if the
               altered statement uses words “that might actually have been
               said by a person admitting his own culpability in the charged
               conspiracy while shielding the specific identity of his
               confederate.” Along these lines, we have previously allowed
               proper names to be replaced with the following terms (among
               others): “another person,” “others,” “other people,” and
               “another person,”; the pronoun “he,”; “this guy,” “another guy,”
               and “similar language,”; and “friend.”

United States v. Taylor, 745 F.3d 15, 28-29 (2d Cir. 2014) (citations omitted).

       Here, the government represents that it will not introduce any statements that

implicate Bruton, or if it does, that it will sufficiently redact those statements such that there

is no Bruton error. Although Defendants disagree that redactions will be effective, it is

premature at this time to rule on this issue, the government not having offered any

statements or redactions. All counsel are on notice to avoid causing Bruton issues.

Should any Bruton issues arise at trial, this Court will resolve them then. Defendants’

motion to preclude co-conspirator statements made to law enforcement or to sever Ricky

Proctor is denied.

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      6.     Co-conspirators’ Hearsay Statements

      The government has indicated that it will seek to introduce co-conspirator

statements at trial as non-hearsay under Rule 801(d)(2)(E) of the Federal Rules of

Evidence. Under that rule, out-of-court statements are not considered hearsay if the

statements are offered against the opposing party and were made by the party’s

coconspirator during and in furtherance of the conspiracy. Such statements can be

admitted if the government establishes by a preponderance of the evidence “that there was

a conspiracy, that both the declarant and the party against whom the statements are

offered were members of the conspiracy, and that the statements were made during and

in furtherance of the conspiracy.” United States v. Rivera, No. 13-CR-149 (KAM), 2015 WL

1875658, at *22 (E.D.N.Y. Apr. 22, 2015) (citing Bourjaily v. United States, 483 U.S. 171,

175-76, 107 S.Ct. 2775, 97 L.Ed.2d 144 (1987)). In making preliminary determinations of

admissibility under Rule 104(a), the court may consider the statements, which are

presumptively unreliable, but there must also be independent corroborating evidence of

the defendant’s membership in the conspiracy. See United States v. Tellier, 83 F.3d 578,

580 (2d Cir. 1996).

      Defendants request an order requiring the government to make a proffer outside the

jury’s presence concerning the admissibility of any statements it seeks to introduce under

Rule 801(d)(2)(E) rather than be permitted to “connect up” the statements through

subsequent testimony. Defendants believe that this will avoid a possible mistrial if the

government is unable to “connect up” its evidence.

      In this Court’s view, it is unnecessary to require the proffers that Defendants seek.

The government is keenly aware of what it must establish to admit co-conspirator

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statements under the rule and that it must have a good-faith basis to request “connecting

up” its evidence. At this time, Defendants’ request to require the government to make

specific proffers outside the presence of the jury is denied.

        7.    Preclusion of Government Witnesses

        Defendants seek an order precluding the government from calling any witness not

previously disclosed. This Court has already directed the government to pare down its

witness list by October 20, 2015. (Docket No. 620.) For any witness that the government

seeks to call who does not appear on the government’s October 20, 2015 witness list, the

government will be required to show good cause why (1) the witness was not previously

identified and disclosed, and (2) the witness should be permitted to testify at trial. At this

time, however, this Court will not, as a general matter, preclude the government from

calling a witness not identified on its October 20, 2015 witness list. Defendants’ request

for such relief is therefore denied.

                                       IV. CONCLUSION

        For the reasons stated above, the government’s motion in limine is denied without

prejudice. Defendants’ motion in limine is deferred in part, granted in part, and denied in

part.

                                         V. ORDERS

        IT HEREBY IS ORDERED, that the government’s Motion in Limine (Docket No.

593) is DENIED without prejudice.

        FURTHER, that Defendants’ Motion in Limine (Docket No. 596) is DEFERRED in

part, GRANTED in part, and DENIED in part.



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         FURTHER, that Defendants’ Motion in Limine (Docket No. 598) is DENIED.

         SO ORDERED.


Dated:         October 9, 2015
               Buffalo, New York

                                                      /s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                      United States District Judge




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